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                      IN THE UNITED STATES DISTRICT COURT                                        /or COU

                    FOR THE SOUTHERN DISTRICT OF GEORGIA
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                                   DUBLIN DIVISION
                                                                                 Sñ---L_ tL


PAULO LOSOLLA,

                Petitioner,

        V.                                       CV 311-098
                                                 (Formerly CR 308-011)
UNITED STATES OF AMERICA,

                Respondent.



             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Petitioner Paolo Losolla, an inmate at the Federal Prison Camp in Atlanta, Georgia,

has filed with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his

 sentence. This case is now before the Court on Respondent's motion to dismiss Petitioner's

 § 2255 motion. (Doc. no. 4.) Petitioner opposes the motion to dismiss. (Doc. no. 5.) For


 the reasons set forth below, the Court REPORTS and RECOMMENDS that the motion to

 dismiss be GRANTED, that the instant § 2255 motion be DISMISSED without an

 evidentiary hearing, and that this civil action be CLOSED.

 I. BACKGROUND

        In October of 2008, a federal grand jury indicted Petitioner on a single count of

 conspiracy to possess with intent to distribute, and to distribute, 50 grams or more or

 methamphetamine or 500 grams or more of a substance containing a detectable amount of

 methamphetamine, in violation of 21 U.S.C. § 846. United States v. Losolla, CR 308-011,
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doe. no. 1 (S.D. Ga. Oct. 9, 2008) (hereinafter "CR 308-011"). Pursuant to a written plea

agreement, Petitioner pled guilty to a lesser included offense of the charge against him:

conspiracy to possess with intent to distribute a quantity of methamphetamine. j, doe. nos.

47, 48. Petitioner's plea agreement included a broad appeal and collateral attack waiver

provision that stated in relevant part:

        To the maximum extent permitted by federal law, the defendant voluntarily
        and expressly waives the right to appeal the conviction and sentence and the
        right to collaterally attack the conviction and sentence in any post-conviction
        proceeding, including a § 2255 proceeding, on any ground, except that: the
        defendant may file a direct appeal of his sentence if it exceeds the statutory
        maximum; and the defendant may file a direct appeal of his sentence if, by
        variance or upward departure, the sentence is higher than the advisory
        sentencing guideline range as found by the sentencing court.

Id., doc. no. 47, p. 8. In addition, by signing the plea agreement, Petitioner attested that he

had read and understood the plea agreement, and that the plea agreement accurately set forth

the terms and conditions of his agreement with the government. Id. at 12.

        The Honorable Dudley H. Bowen, Jr., United States District Judge, held a guilty plea

hearing on June 10, 2010. During that hearing, Petitioner testified under oath that he had

read the plea agreement and that his attorney had gone over the plea agreement with him

before he signed it. j, doe. no. 111, p. 7. In addition, Judge Bowen summarized the terms

 of the plea agreement, specifically addressing the appeal and collateral attack waiver as

 follows:

        [Y]ou have agreed that you are going to waive any right to any appeal with
        respect to the sentence imposed in this case. But that is a conditional waiver.
        You are waiving and giving up any right to challenge the fact of conviction
        by habeas corpus application. Further, if there is some circumstance in which




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        I go above the guideline range or above the statutory range, you would get
        your right to appeal back, but not your habeas corpus right.

Id. at 11. Petitioner affirmed that he understood this explanation of the plea agreement,

including the appeal and collateral attack waiver. j4 at 12.

        Judge Bowen also explained at the plea hearing that the maximum penalty for his

crime was a term of life imprisonment, along with a fine of not more than $4,000,000.00 and

a term of supervised release of at least five years. Id. at 8-9. Furthermore, in response to

questions asked by Judge Bowen, Petitioner averred that no one had forced or pressured him

to plead guilty and that no one had made him any promise, guarantee, or prophesy that he

would receive a particular sentence. Id. at 14. Following a government witness's

presentation of a factual basis for the guilty plea, Judge Bowen asked Petitioner if he still

wanted to plead guilty in a mariner consistent with his plea agreement, to which Petitioner

responded, "Yes, sir, your Honor." Id. at 20.

        After the guilty plea hearing, the United States Probation Office prepared a

presentence investigation report ("PSI"), to which neither party objected. During Petitioner's

sentencing hearing, which was held on September 28, 2010, Judge Bowen found, consistent

with the PSI, that Petitioner had a total offense level of 25 and a criminal history category

of I, which yielded an advisory Sentencing Guidelines range of 51 to 71 months of

imprisonment. Id., doe. no. 110, pp. 4-5. Judge Bowen sentenced Petitioner to a 60-month

term of imprisonment.' I, doe. no. 51. Consistent with his plea agreement, Petitioner did

not appeal.


        'Of note, on April 13, 2012, Judge Bowen granted a motion for sentence reduction
filed by the government and reduced Petitioner's sentence to 48 months. (Doe. no. 146.)

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        Petitioner then proceeded file the instant § 2255 motion, which is dated September

26, 2011, and was filed by the Clerk of Court on October 26, 2011. (Doe. no. 1, p. 13.)

Petitioner asserts a single claim: that his trial counsel provided ineffective assistance at

sentencing by failing to seek a safety-valve adjustment pursuant to U.S.S.G. § 5C1.2. 2 (Id.

at 4, 14-16.) Respondent contends that Petitioner's § 2255 motion should be dismissed

because his claim is barred by the collateral attack waiver set forth in his plea agreement.

(See doc. no. 4.) The Court resolves the matter as follows.

II.     DISCUSSION

        A.      No Need For Evidentiary Hearing

        Petitioner appears to request an evidentiary hearing in his § 2255 motion. (Doe. no.

 1, p. 16.) With regard to that request, the Eleventh Circuit follows the general rule "that

 effective assistance claims will not be addressed on direct appeal from a criminal conviction

because an evidentiary hearing, available in a section 2255 proceeding, is often required for

 development of an adequate record." Vick v. United States, 730 F.2d 707, 708 (11th Cit.

 1984). Nonetheless, this general rule does not require the Court to hold an evidentiary

 hearing every time an ineffective assistance of counsel claim is raised. Id. Stated another

 way:

        Notwithstanding this legislative mandate, it is well settled that a petitioner
        does not establish his right to a hearing by the simple expedient of filing a
        petition. A hearing is not required on patently frivolous claims or those



         2U.S.S.G. § 5C1.2 provides that, for certain specified drug offenses, the sentencing
 court "shall impose a sentence in accordance with the applicable guidelines without regard
 to any statutory minimum sentence, if the court finds that the defendant meets the criteria in
 18 U.S.C. § 3553(f)(1)-(5).. .

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        which are based upon unsupported generalizations. Nor is a hearing required
        where the petitioner's allegations are affirmatively contradicted by the record.

Step hens v. United States, 14 F. Supp.2d 1322, 1334 (N.D. Ga. 1998) (citation omitted).

        As described in detail below, the Court finds that Petitioner's § 2255 claim is barred

from review. Thus, no evidentiary hearing is necessary in this case. Accordingly,

Petitioner's apparent request for an evidentiary hearing should be denied.

        B.      Petitioner's § 2255 Claim Is Barred by the Collateral Attack Waiver in
                His Plea Agreement

        It is well settled that a waiver of the right to collaterally attack a sentence is only

enforceable if the waiver is knowing and voluntary. United States v. Weaver, 275 F.3d 1320,

 1333 (11th Cir. 2001); United States v. Bushert, 997 F.2d 1343, 1345 (11th Cir. 1993). "To

establish the waiver's validity, the government must show either that (1) the district court

specifically questioned the defendant about the provision during the plea colloquy, or (2) it

is manifestly clear from the record that the defendant fully understood the significance of the

waiver." Weaver, 275 F.3d at 1333. If the government meets this burden in the instant case,

then Petitioner's claims are barred from review. See United States v. Pease, 240 F.3d 938,

 942 (11th Cir. 2001) (per curiam) (enforcing waiver provision where defendant was

 specifically questioned during plea proceedings about waiver); United States v. Howle, 166

F.3d 1166, 1168-69(11th Cir. 1999); United States v. Benitez-Zap ia, 131 F.3d 1444, 1146-

47 (11th Cir. 1997).




         3Case law concerning waiver of a direct appeal has also been applied to waiver of the
right to collateral proceedings. See Bushert, 997 F.2d at 1345; see also Vaca-Ortiz v. United
States, 320 F. Supp.2d 1362, 1365-67 (N.D. Ga. 2004).

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          Here, Respondent has met its burden in demonstrating the existence of a valid

collateral attack waiver. The plea agreement signed and verified by Petitioner explicitly set

forth that he was voluntarily waiving his right to collaterally attack his sentence "in any post-

conviction proceeding, including a § 2255 proceeding." CR 308-011, doc. no. 47, p. 8.

Moreover, Judge Bowen thoroughly reviewed the terms of the plea agreement during the plea

colloquy, with particular emphasis on the significance of the appeal and collateral attack

waiver provision. Id., doc. no. 111, p. 11-12. After Judge Bowen concluded his review of

the plea agreement, Petitioner acknowledged that he understood and agreed with the terms

of the plea agreement as explained by Judge Bowen. Id.

          The record before the Court therefore demonstrates that the collateral attack waiver

was knowing and voluntary. While Petitioner would have the Court ignore his responses to

Judge Bown's questions, "solemn declarations in open court [at a guilty plea hearing] carry

a strong presumption of verity" and "constitute a formidable barrier in any subsequent

collateral proceedings." Blackledge v. Allison, 431 U.S. 63, 74 (1977). Thus, the Court

concludes that the collateral attack waiver is valid and that Petitioner's claim is barred by the

waiver.

          In making this determination, the Court is aware that Petitioner's § 2255 claim

involves an assertion of ineffective assistance of trial counsel. "An ineffective assistance of

counsel argument survives a waiver of appeal [or collateral attack] only when the claimed

assistance directly affected the validity of that waiver or the plea itself." Williams v. United

States, 396 F.3d 1340, 1342 n.2 (11th Cir. 2005) (quoting United States v. White, 307 F.3d

506, 508-09 (5th Cir. 2002)). Here, as in Williams, Petitioner's assertion of ineffective


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assistance of counsel pertains to his counsel's representation at sentencing. Therefore,

Petitioner's ineffective assistance of counsel claim "[does] not concern representation

relating to the validity of the plea or waiver." See jçi As a result, Petitioner's § 2255 claim

is barred by the collateral attack waiver in his plea agreement, and Respondent's motion to

dismiss the instant § 2255 motion in its entirety should be granted.

III. CONCLUSION

       For the reasons set forth above, the Court REPORTS and RECOMMENDS that

Respondent's Motion to Dismiss be GRANTED (doe. no. 4), that the instant § 2255 motion

be DISMISSED without an evidentiary hearing, and that this civil action be CLOSED.

        SO REPORTED and RECOMMENDED on thia"day of                                      , 2012,
at Augusta, Georgia.                                                           V



                                               W. LEON 'ARFIELD /
                                               UNITED STATES MAGIS't)(TE JUDGE




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